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                                                           June 28, 2024
VIA ECF

Hon. Valerie Figueredo
United States Magistrate Judge
Daniel Patrick Moynihan Courthouse
500 Pearl Street, Room 1660
New York, New York 10007

       Re:    Courtalert.Com, Inc v. American Legalnet, Inc., et al.
              No. 1:20-cv 07739 (VSB)(VF)

Dear Judge Figueredo:

The Court recently rescheduled the discovery conference in this action to July 10 (Dkt. No. 91).
I am away that entire week, and so request that the conference be rescheduled. I am available for
any of the following times:

       Week of July 1st
       July 15 – afternoon
       July 24 or 26 – all day
       July 30, 31, August 1– all day
       August 2– morning

                                                           Respectfully Submitted,

                                                           Efrem Schwalb

cc: All counsel (ECF)




                                                          July 2, 2024
                                  The Conference scheduled for July 10,
                                  2024 is adjourned. The Parties are directed
                                  to meet and confer and propose additional
                                  dates for rescheduling the Conference to
                                  the Court by July 10, 2024. The Clerk of
                                  Court is respectfully directed to terminate
                                  the Motion at ECF No. 93.
